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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

v.                                                                    No: 2:19-cr-01715-RB-1

JAMES CHRISTOPHER BENVIE,

                Defendant.

                                              ORDER

        Before the Court is the government’s Motion in Limine to Exclude Testimony of Certain

Witnesses. (Doc. 41.) Defendant James Christopher Benvie intends to call the following

individuals to testify: (1) New Mexico Governor Michelle Lujan Grisham; (2) Congresswoman

Veronica Escobar; (3) New Mexico Attorney General Hector Balderas; (4) Congresswoman Debra

Anne Halland; (5) Congressman Ben Ray Lujan; and (6) New Mexico ACLU Director Peter

Simonson. (Doc. 39.) Relevant evidence “has any tendency to make a fact more or less probable

than it would be without the evidence; and the fact is of consequence in determining the action.”

Fed. R. Evid. 401. Evidence that is not relevant is inadmissible. Fed. R. Evid. 402. At a pretrial

hearing on Wednesday February 26, 2020, the government argued that these witnesses were not

present during the events at issue, and they have played no role in the prosecution. These arguments

are also reflected in its Motion. (Doc. 41 at 2.) Benvie did not file a response, but at the hearing he

claimed that these witnesses pressured prosecutors to file charges in this matter. Given that Benvie

provided no facts or evidence to substantiate these claims, and because prosecutors have discretion

to bring charges, these six witnesses are not relevant to Benvie’s case and the Court will not allow

their testimony at trial.

        THEREFORE,
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       IT IS ORDERED that:

       The Court grants the government’s Motion in Limine (Doc. 41) to exclude testimony of

these six witnesses.




                                                 ___________________________________
                                                 ROBERT C. BRACK
                                                 SENIOR U.S. DISTRICT JUDGE
